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UNITED sTATEs oF AMERICA, W'D' OF TN' "`"E`=MPH'S
Plaintiff,
vs. NO- 05-20151

JOE HOWELL,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO DETERMINE COMPETENCY
TO STAND TRIAL

 

Before the Court is the defendant's June 23; 2005,
motion requesting that the defendant undergo a mental
evaluation pursuant to 18 U.S.C. § 4241 and 4247(b)- For
good cause shown, the defendant, Joe Howell, is ordered to
undergo a complete mental evaluation at a euitahle federal
facility to determine whether he is mentally competent to
understand the nature and consequences of the proceedings
against him and to assist properly in his own defense and
to determine his competency at the time of the offense.

This matter is continued to October 3, 2005,for trial,
with a report date on September 26, 2005, at 9:30 a.m. The
continuance is necessary to allow the defendant to be
examined as to his mental competency and to allow both

parties additional time to prepare.

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Time is excluded under 18 U.S.C. §3161(h)(1)(A) and

under 18 U.S.C. § BlEl(hJ(S)(iv) to allow defendant to

undergo a mental evaluation and to allow counsel to

prepare.

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. Da iel Breen \\
nite States District Judge

    
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20151 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable J. Breen
US DISTRICT COURT

